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                                                    Via ECF
August 16, 2021

The Honorable Patrick J. Schiltz
United States District Court
300 South Fourth Street
Minneapolis, MN 55415
schiltz_chambers@mnd.uscourts.gov

         Re:      Lindell v. US Dominion, Inc. et al., Case No. 0:21-cv-01332-PJS-DTS

Dear Judge Schiltz,

   Along with Benesch, Friedlander, Coplan & Aronoff, LLP, this law firm
represents Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V.,
and SGO Corporation Limited, (collectively, “Smartmatic”) in the above-referenced
matter. On July 7, 2021, the Court issued an order staying the case. See Lindell v.
Dominion, et al., No. 21-cv-1332-PJS-DTS (D. Minn.) (ECF No. 19). In staying the case,
the Court ordered:

         2. No later than seven days after a decision has been rendered on the
            pending motions in the D.C. action, Dominion must file a letter
            informing the Court of the decision and attaching a copy of the
            order disposing of the motions. The Court will then promptly
            schedule a status conference or schedule a hearing date on
            Dominion’s anticipated motions and issue a briefing schedule.

Lindell, No. 21-cv-1332 (ECF No. 19 at 2).

        On July 14, 2021, the Court entered the Order Extending Time to Answer or
Otherwise Plead for Smartmatic. Lindell, No. 21-cv-1332 (ECF No. 35). That Order
states:

         [Smartmatic] shall have until the later of the following to answer or
         otherwise respond to Plaintiff’s Complaint:

               1. October 7, 2021; or



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             2. a deadline set by the Court at the status conference or hearing
                date scheduled pursuant to Point 2 of the Court’s Order dated
                July 7, 2021 (ECF No. 19 at 2).

Id. (emphasis in original).

        On August 12, 2021, counsel for Dominion Voting Systems Corporation,
Dominion Voting Systems, Inc., and U.S. Dominion, Inc. (“Dominion”) submitted a
letter to the Court and stated that Dominion can be available for a status conference
anytime on August 16 or afterwards. Lindell, No. 21-cv-1332 (ECF No. 37 at 1).

      Counsel for Smartmatic is unavailable for a status conference on August 16
and 17, 2021 due to a previously scheduled argument on the motions to dismiss
pending in Smartmatic USA Corp., et al. v. Fox Corporation, et al., NYS Supreme Court,
New York County, Index No. 151136/2021, set for Tuesday, August 17, 2021.
Smartmatic can be available to participate any time on Thursday, August 19 or
afterwards.

                                           Very kind regards,

                                           ROBINS KAPLAN LLP




                                           William E. Manske




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